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                                                                          UNITED STATES DISTRICT COURT
                                                                                    DISTRICT OF OREGON

                                             SUBMISSION REQUIREMENTS FOR ELECTRONIC
                                                                      TRIAL EXHIBITS

Introduction
The District of Oregon uses the Jury Evidence Recording System (JERS) for the viewing of electronic exhibits
by a jury during deliberations. This document describes the requirements and procedures parties and counsel are
to follow when submitting electronic trialexhibits to the Court. To facilitate the use of JERS, parties and counsel
should plan how exhibits may be prepared for electronic submission before they begin the discovery process
and as they prepare exhibits for trial. Physical exhibits are to be handled in accordance with the trial judge's
instructions.


Prior to Trial
The submission of the electronic evidence files should occur after the parties are reasonably certain that the lists
are complete to avoid apiecemeal submission of files to the Court.

How to Submit Electronic Exhibit Files


 You will be organizing your This is what the Jury will see:
 exhibits in such a way that
 they can be imported into the
 Jury Evidence Recording
 System (JERS).
                                                                                Notice that it has an exhibit
 Notice that it has an exhibit
 number.                                                                        description.

 You will be responsible for
 numbering your exhibits and
 giving it a good description.
 The Courtroom Deputy
 (CRD) will give it the prefix
 of Def or Pla
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Load your exhibits onto a                                                          Electronic exhibits must be in the
USB drive (thumb drive),                                                           following formats:
DVD, CD or external USB
hard drive.                                                                        Documents → .pdf

It should look something                                                           Images → .jpg, .gif., .png, .pdf
like this.
                                                                                   A/V Recordings → .avi, .mpg,
It is helpful to number                                                                             .mp3, .mp4
your exhibits and give
them a user-friendly                                                               File sizes must not exceed 500MB.
description.                                                                       Exhibits exceeding this size limit
                                                                                   must be separated into smaller files.

                                                                                   Images may be reduced in size by
                                                                                   reducing their dimensions, usually
                                                                                   with minimal effect to viewing
                                                                                   quality.

                                                                                   PDF file types are to be in PDF/A
                                                                                   format and should be reduced in
                                                                                   size using tools and features like
                                                                                   Adobe Acrobat's "Reduce File
                                                                                   Size." (Information about PDF/A is
                                                                                   available here).

                                                                                   Documents and images must be
                                                                                   properly oriented for viewing.

Create a text file on your Example of Exibits.txt file:
USBdrive called
“Exhibits.txt”

This will act as the
instructions for the JERS
software to import your
electronic exhibits into
the JERS database.

It has three components:
Exhibit Number
Exhibit Description
Exhibit File Name

Each of these components
will be separated by the
“pipe” symbol: |
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Exhibit Number                Example of one line of the Exhibits.txt file:      Formatting Exhibits.txt
The Exhibit Number will                                                          The Exhibit File Name in the Exhibits.txt
be visible to the Jury.                Exhibit Description                       must be the same as your File Name on the
                                                                                 USB drive.
It can have sub-parts (1a,
1b, 1c, etc.)
                              1|Hotel Receipt|Ex.1 Hotel Receipt.pdf

Do not include leading                                    Exhibit File Name      There are no spaces before or after the “ | ”
zeros in exhibit numbers.                                                        (pipe) symbol.
Exhibit Description              Exhibit Number
                                                                                 File Names
Give a description that the                                                      File names must not exceed 208 characters
Jury will find helpful.                                                          in length.
DO NOT use prejudicial
names or descriptions.

The Court may choose to
release the exhibits
without including the
descriptions.

Allowable punctuation in
descriptions and file names
are underscores, spaces,
parenthesis, and periods
only.




After the files are imported into the JERS system, they will be reviewed by the Courtroom Deputy Clerk (CRD).
If there are any illegibleexhibits or other file errors, the CRD will contact the offering party and request a
corrected file.


During Trial
At the conclusion of each trial day, parties may be required to review the exhibits admitted into evidence with
the CRD to limit the time between closing arguments and when the exhibits may be released to the jury to begin
deliberations.


If necessary, additional exhibits may be submitted by the parties to the CRD during trial. The file type
requirements outlined above still apply and the electronic exhibit file(s) must be submitted on USB flash media
(i.e., thumb drive), external USB hard drive, DVD, or CD. An Exhibits.txt file, however, will not be required.
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Final Review of Exhibits
Prior to closing arguments, the parties are to confer for a final review of those exhibits to be
released to the jury. The parties shouldanticipate extra time for this review. Exhibits not marked
as "admitted" will not be released to the jury.

Prior to deliberations, jurors will watch a tutorial video explaining how to use the JERS system,
which covers selecting and viewing documents; starting,pausing, and stopping videos; and other
functions to review evidence.


Questions
Contact the Judge's Courtroom Deputy Clerk for questions regarding the JERS system.




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